      Case 5:22-cv-00246-LCB-HNJ Document 6 Filed 05/31/22 Page 1 of 3                   FILED
                                                                                2022 May-31 AM 11:11
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION

ANDY T. SANFORD,                          )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )   Case No. 5:22-cv-00246-LCB-HNJ
                                          )
AUTOMOTAION PERSONAL                      )
SERVICES, et al.,                         )
                                          )
       Defendants.

                             ORDER OF DISMISSAL

      The Magistrate Judge entered a report on May 2, 2022, recommending the

dismissal of this action without prejudice for lack of prosecution.       (Doc. 5).

Although the Magistrate Judge advised Mr. Sanford of his right to file specific

written objections within 14 days, the court has not received any objections.

      After careful consideration of the record in this case and the Magistrate

Judge’s report, the court ADOPTS the report and ACCEPTS the recommendation.

Consistent with that recommendation, the court ORDERS this action be

DISMISSED WITHOUT PREJUDICE for failure to prosecute.

      Costs are taxed to the plaintiff.

      For information on the cost of appeal, see the attached notice.
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DONE and ORDERED May 31, 2022.



                          _________________________________
                          LILES C. BURKE
                          UNITED STATES DISTRICT JUDGE




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                               United States Court of Appeals
                                          Eleventh Circuit
                                       56 Forsyth Street, N.W.
                                       Atlanta, Georgia 30303

David J. Smith                                                         In Replying Give Number
Clerk of Court                                                         of Case and Names of Parties


          NOTICE TO PRISONERS CONCERNING CIVIL APPEALS

         The Prison Litigation Reform Act of 1995 (effective April 26, 1996) now REQUIRES that
all prisoners pay the Court’s $500 docket fee plus $5 filing fee (for a total of $505) when appealing
any civil judgment.

               If you wish to appeal in a civil case that Act now requires that upon filing a notice
of appeal you either:

       (1)       Pay the total $505 fee to the clerk of the district court from which
                 this case arose; or

       (2)       arrange to have a prison official certify to the district court from
                 which the appeal arose the average monthly deposits and balances
                 in your prison account for each of the six months preceding the filing
                 of a notice of appeal.

        If you proceed with option (2) above, the Act requires that the district court order you to
pay an initial partial fee of at least 20% of the greater of either the average monthly deposits or
of the average monthly balances shown in your prison account. The remainder of the total $505
fee will thereafter be deducted from your prison account each month that your account balance
exceeds $10. Each such monthly deduction shall equal 20% of all deposits to your prison account
during the previous month, until the total $505 fee is paid. (If your prison account statement shows
that you cannot pay even the required initial partial fee, your appeal may nevertheless proceed,
BUT THE TOTAL $505 FEE WILL BE ASSESSED AGAINST AND WILL BE DEDUCTED
FROM FUTURE DEPOSITS TO YOUR PRISON ACCOUNT.)

        Fees are not refundable, regardless of outcome, and deductions from your prison account
will continue until the total $505 fee is collected, even if an appeal is unsuccessful.


                                                                     David J. Smith
                                                                     Clerk of Court

                                                                                   PLRA Notice


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